UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------X
Sarah Edmondson, et al.                                                           20-cv-00485
                                                                                  __________________
                                  Plaintiffs,
       v.                                                                         NOTICE OF MOTION
Keith Raniere, et al.                                                             TO ADMIT COUNSEL
                                  Defendants                                      PRO HAC VICE
---------------------------------------------------------X

TO:      Opposing Counsel
         ________________________________

         ________________________________

PLEASE TAKE NOTICE that upon the annexed affidavit of movant in support of this motion and
                                                       Brendan R. Schneiderman
the Certificate(s) of Good Standing annexed thereto, I ___________________ will move this

Court pursuant to Rule 1.3(c) of the Local Rules of the United States District Courts for the

Southern and Eastern Districts of New York for an order allowing the admission of movant, a
                      Cohen Milstein Sellers & Toll PLLC
member of the firm of _____________________________ and a member in good standing of

                                Washington D.C.
the bar(s) of the State(s) of ____________________________________, as attorney pro hac

vice to argue or try this case in whole or in part as counsel for
Plaintiffs
______________________________________________. There are no pending disciplinary

proceedings against me in any state or federal court. (If there are any disciplinary proceedings,

describe them.)

                                                             Respectfully submitted,
      6/18/2025
                                                              /s/ Brendan R. Schneiderman
Dated: ____________                                          _______________________________________
                                                             Signature of Movant
                                                                        Cohen Milstein Sellers & Toll PLLC
                                                             Firm Name______________________________
                                                                      1100 New York Ave., 8th Fl., NW
                                                             Address_________________________________
                                                                    Washington D.C. 20005
                                                             ________________________________________
                                                             Email___________________________________
                                                                   bschneiderman@cohenmilstein.com
                                                             Phone___________________________________
                                                                    (202)408-4600
